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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  JOHN DOE, an individual,

          Plaintiff,
  vs.                                              Case No. 16-cv-13174
                                                   Hon. David M. Lawson
  DAVID H. BAUM, et. al.,                          Mag. Stephanie Dawkins Davis

        Defendants.
  __________________________________________________________________
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  OF THE VICE PRESIDENT AND
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  Patricia M. Petrowski (P80361)               David W. DeBruin (337626)
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  __________________________________________________________________

         PLAINTIFF’S MOTION FOR RECONSIDERATION AS TO THE
        DISMISSAL OF DEFENDANTS WALESBY, WESSEL, AND BAZZY

         NOW COMES Plaintiff, by and through his attorneys, Deborah Gordon Law,

  and in support of his Motion for Reconsideration brought under Local Rule 7.1(h)

  states as follows:
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        1.     On September 7, 2018, the Sixth Circuit Court of Appeals reversed this

  Court’s decision to dismiss Plaintiff’s case on the pleadings, and remanded the case

  back to the District Court for further proceedings.

        2.     In pertinent part, the Sixth Circuit found that the sexual misconduct

  policy Defendants subjected Plaintiff to was unconstitutional, because it deprived

  him of a live hearing and the opportunity for cross-examination. Per the Sixth

  Circuit, both are necessary aspects of procedural due process. Doe v. Baum, 903

  F.3d 575, 581-5 (6th Cir. 2018).

        3.     Upon returning to the District Court, Plaintiff amended his Complaint

  on March 1, 2019. ECF 121.

        4.     Plaintiff’s Second Amended Complaint lodged claims against several

  individual Defendants, including Nadia Bazzy, Erik Wessel, and Anthony Walesby.

        5.     On September 30, 2019, this Court dismissed Bazzy, Wessel, and

  Walesby as Defendants from this case, holding that Plaintiff failed to sufficiently

  allege their individual involvement in the deprivation of Plaintiff’s constitutional

  rights. ECF 157, Pg. ID 5100-5102.

        6.     This Court’s holding as to Bazzy, Wessel, and Walesby contained

  palpable defects, which if corrected would result in a different disposition of the

  claims against these Defendants. L.R. 7.1(h)(3).




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         7.       Namely, this Court palpably erred by disregarding the detailed factual

  allegations Plaintiff made against these Defendants that specifically set forth their

  personal involvement in the deprivation of Plaintiff’s constitutional right to

  procedural due process.

         8.       Plaintiff specifically pled that Nadia Bazzy personally oversaw the

  implementation of the unconstitutional procedures and processes applied to Plaintiff

  including by the Appeals Board. ECF 121, Pg. ID 4101, ¶ 22. Accordingly, Bazzy

  personally approved the Appeals Board’s application of an unconstitutional process

  to Plaintiff.

         9.       Moreover, Plaintiff pled that once the Appeals Board rendered its

  unconstitutional result against Plaintiff, she personally recommended that he

  withdraw from the University, because according to Bazzy, the Resolution Officer,

  who also belonged to OSCR, the office she led, would likely expel Plaintiff. ECF

  121, Pg. ID 4116-8, ¶¶ 110, 112, 114, 120, 121. This action evidences her personal

  approval of the deprivation of Plaintiff’s constitutional rights.

         10.      Bazzy not only oversaw and approved the application of the

  unconstitutional process, but also knowingly acquiesced in and approved the

  deprivation by personally precipitating Plaintiff’s removal from the school, ensuring

  that he would be deprived of his property and liberty interests in his education and

  reputation in the community.

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         11.      Plaintiff also specifically pled detailed allegations that Anthony

  Walesby personally approved and promulgated the unconstitutional policy at issue

  via his role as Senior Director for the Office of Institutional Equity and Title IX

  Coordinator. The lower-level University officials who executed the process denying

  Plaintiff a live hearing and cross examination could not have done so without

  Walesby’s approval and acquiescence. ECF 121, Pg. ID 4101-4103, 4107 ¶¶ 25, 36,

  50.

         12.      Finally, Plaintiff specifically pled that Erik Wessel directed the

  University department, OSCR, which administered the unconstitutional appeal

  process. The members of the Appeals Board would not have been able to deprive

  Plaintiff of a live hearing and cross examination if not for Wessel’s implicit approval

  of and acquiescence in that constitutional violation. ECF 121, Pg. ID 4101, ¶ 24.

         13.      Plaintiff certifies that in accordance with L.R. 7.1, he sought

  Defendants’ concurrence in the relief requested by this Motion on October 14, 2019,

  but such concurrence was not forthcoming.

         WHEREFORE, Plaintiff respectfully requests this Honorable Court grant his

  Motion for Reconsideration, and restore Bazzy, Walesby, and Wessel as Defendants

  in this case.




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  Dated: July 29, 2019              Respectfully submitted,
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  JOHN DOE, an individual,

         Plaintiff,
  vs.                                          Case No. 16-cv-13174
                                               Hon. David M. Lawson
  DAVID H. BAUM, et. al.,                      Mag. Stephanie Dawkins Davis

        Defendants.
  __________________________________________________________________
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           PLAINTIFF’S BRIEF IN SUPPORT OF HIS MOTION FOR
        RECONSIDERATION AS TO THE DISMISSAL OF DEFENDANTS
                    WALESBY, WESSEL, AND BAZZY
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        On September 7, 2018, the Sixth Circuit Court of Appeals reversed this

  Court’s decision to dismiss Plaintiff’s case on the pleadings, and remanded the case

  back to the District Court for further proceedings. In pertinent part, the Sixth Circuit

  found that the sexual misconduct policy Defendants subjected Plaintiff to was

  unconstitutional, because it deprived him of a live hearing and the opportunity for

  cross-examination. Per the Sixth Circuit, both are necessary aspects of procedural

  due process. Doe v. Baum, 903 F.3d 575, 581-5 (6th Cir. 2018). Upon returning to

  the District Court, Plaintiff amended his Complaint on March 1, 2019. ECF 121.

  Plaintiff’s Second Amended Complaint lodged claims against several individual

  Defendants, including Nadia Bazzy, Erik Wessel, and Anthony Walesby. On

  September 30, 2019, this Court dismissed Bazzy, Wessel, and Walesby as

  Defendants from this case, holding that Plaintiff failed to sufficiently allege their

  individual involvement in the deprivation of Plaintiff’s constitutional rights. ECF

  157, Pg. ID 5100-5102.

        Plaintiff’s allegations against Bazzy, Wessel and Walesby are analogous to

  those raised in Hill v. Marshall, 962 F.2d 1209, 1213 (6th Cir. 1992). There, plaintiff

  alleged that a prison official was personally involved in the deprivation of his

  constitutional rights where the official knowingly referred plaintiff’s complaints

  about not getting medication to a nurse he knew was botching inmates’ prescriptions.

  Just as in that case, Plaintiff alleged here that Bazzy, Wessel, and Walesby

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  abandoned the specific duties of their positions (which all included ensuring that due

  process was provided) in the face of their actual knowledge of a breakdown in the

  constitutionality of the policy. As in Hill, Bazzy, Wessel, and Walesby personally

  had a job to do, and they did not do it, which caused Plaintiff to be deprived of his

  due process.

        The Court Committed Palpable Error in Dismissing Nadia Bazzy as a
        Defendant

        The Court committed palpable error when it determined that Plaintiff’s only

  allegation against Bazzy was that she “oversaw the resolution process” following

  the Appeals Board’s decision against Plaintiff. In actuality, Plaintiff specifically pled

  that Bazzy personally oversaw the Appeals Board’s implementation of the

  unconstitutional procedure. ECF 121, Pg. ID 4101, ¶ 22. Plaintiff pled that Bazzy

  was in a position of authority over the Appeals Board, and in that role knowingly led

  them to deprive Plaintiff of his constitutional rights. In fact, Plaintiff specifically

  pled that “the appeal process was administered principally by the OSCR Assistant

  Director, Bazzy.” ECF 121, Pg. ID. 4111, ¶ 83. Bazzy’s job included making sure

  that the process she administered passed constitutional muster—she deliberately did

  not do her job. The allegation that Bazzy guided the Appeals Board in executing the

  process depriving Plaintiff of his constitutional right is sufficient to establish her

  personal involvement in the deprivation.



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        Moreover, Bazzy’s involvement in the sanctioning process underscores her

  implicit and explicit approval of the denial of due process. Once the Appeals Board

  rendered its unconstitutional result against Plaintiff, she implicitly and explicitly

  approved that decision (and accordingly, the constitutional deprivation) by adopting

  it and aligning her actions with it. Plaintiff pled that Bazzy helped lead the Office of

  Student Conflict Resolution, which under the unconstitutional policy was charged

  with determining a penalty for Plaintiff. Id. Bazzy acquiesced in the deprivation of

  Plaintiff’s due process by personally recommending that he withdraw from the

  University. She explained that the Resolution Officer, who fell in her chain of

  command under OSCR, would likely expel Plaintiff based on what the Appeals

  Board had—in her view—correctly decided. ECF 121, Pg. ID 4116-8, ¶¶ 110, 112,

  114, 120, 121.

        Bazzy not only implicitly and/or explicitly approved the application of the

  unconstitutional process, but also knowingly acquiesced and approved the

  deprivation by personally precipitating Plaintiff’s removal from the school, ensuring

  that he would be deprived of his property and liberty interests in his education and

  reputation in the community. This allegation shows Bazzy affirmatively endorsed

  the denial of Plaintiff’s procedural due process.

        Notably, Plaintiff’s allegations against Bazzy bear striking resemblance to

  those against Harper. In holding Plaintiff’s allegations against Harper were

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  sufficient, the Court noted that “she oversaw the OIE and OSCR process and signed

  pertinent documents.” ECF 121, Pg. ID 4101, ¶ 23; ECF 157, Pg. ID 5102-3.

  Moreover, the Court accepted as sufficient Plaintiff’s allegation that “Harper had the

  final sign-off on the improperly imposed discipline certainly suffices to establish her

  personal involvement.” Id. Accordingly, under the Court’s own reasoning,

  Plaintiff’s allegation that Bazzy personally recommended the “improperly imposed

  discipline,” should be similarly sufficient to establish Bazzy’s personal involvement

  in the constitutional deprivation. Accordingly, the Court’s finding that “plaintiff has

  not alleged any facts to suggest that Bazzy…had any personal involvement in the

  defective appeal procedure itself,” contained a palpable defect. Bazzy’s dismissal

  from this case was palpable error.

        The Court Committed Palpable Error in Dismissing Anthony Walesby
        as a Defendant

        The Court made a “palpable error” when it found that Plaintiff’s “only”

  allegation against Walesby reviewed and approved the OIE Report. In fact, Plaintiff

  also pled that Anthony Walesby personally approved and promulgated the

  unconstitutional policy at issue via his role as Senior Director for the Office of

  Institutional Equity and Title IX Coordinator. ECF 121, Pg. ID 4101-4103, 4107 ¶¶

  25, 36, 50.

        Plaintiff has not been permitted to begin discovery in this matter, but must

  eventually explore how the unconstitutional policy came into being. Walesby led the
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  departments that were the main proponents of this policy. It simply could not have

  come into being or been executed by these departments without Walesby’s personal

  acquiescence or approval. Accordingly, the lower-level University officials who

  executed the process denying Plaintiff a live hearing and cross examination could

  not have done so without Walesby’s personal approval of the constitutional violation

  at some phase in the process. ECF 121, Pg. ID 4101-4103, 4107 ¶¶ 25, 36, 50.

  Walesby’s job included making sure that his policies and programs provided

  students due process--he deliberately did not do his job.

        Moreover, Plaintiff’s allegations regarding Walesby’s involvement at the

  OIE-investigation phase underscore his personal role in depriving Plaintiff of due

  process. The OIE may have reached the right outcome, but the process still deprived

  Plaintiff of his well-established right to a hearing. Walesby could not have been a

  mere inactive figurehead when he personally executed a process he knew deprived

  Plaintiff of a live hearing that the Constitution required. Id. The Court’s dismissal

  of Walesby was palpable error.

        The Court Committed Palpable Error in Dismissing Erik Wessel as a
        Defendant

        Finally, Plaintiff specifically pled that Erik Wessel directed the University

  department, OSCR, which administered the unconstitutional appeal process. ECF

  121, Pg. ID 4101, ¶ 24. Again, the Court accepted as sufficient nearly identical

  allegations as to Defendant Harper. Wessel was the head of the department under
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  which the Appeals Board operated. The individuals in Wessel’s direct chain of

  command could not have deprived Plaintiff of a live hearing and cross examination

  without his implicit or explicit approval of and acquiescence in the unconstitutional

  policy. Moreover, just as with Bazzy, Plaintiff’s allegations that Wessel oversaw the

  resolution process is evidence of his personal involvement in the deprivation of

  Plaintiff’s constitutional rights. If Wessel had not implicitly or explicitly approved

  the deprivation of Plaintiff’s rights in the Appeals Process, he would not have

  approved the outcome. Wessel’s job included making sure that the processes he

  oversaw provided students due process—again, he deliberately did not do his job.

  Plaintiff pled personal involvement by Wessel in the constitutional violation.



  Dated: October 14, 2019                Respectfully submitted,
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                            CERTIFICATE OF SERVICE

         I hereby certify that on October 14, 2019, I electronically filed the foregoing
  document with the Clerk of the Court using the ECF system, which will send
  notification of such filing and service of said documents to all parties through their
  counsel of record.

                                         DEBORAH GORDON LAW
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